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        MARKS, O'NEILL, O'BRIEN, DOHERTY& KELLY, P.C.                             I              ;


        BY: Christian M. Scheuerma•, Esquire ATTORNEY fOR DEFiNDANT            ,
        Cherry Tree Corporate Center         Healthcare R•venue Recpvery Grol!pi
        Suite 501                            LLC          .                    .
        535 Route 38 East
        Cherry Hill, NJ 08002
        (856) 663-4300

        190-100509 SXK/CMS
                                                               UNITED STATES n1stR1cT couit
        Alejandro Morales, on behalf bf himself and                   OFf NEW JERSEY     .
        those similarly situated,                                   NEWARK VICtNAGE
                                                                                  ;          ;
                                                                                  '          '




                        vs.                                     DOCKET NO.            2:15-cv~8401-ES....An
        Healthcare Revenue Recovery Group, LLC                              CIVIL ACTfON

                                                                 DISCOVE~Y CONFIDENTIALITY
                                                                                      ORDERi                 ,


                                  -                                           '
                As it appearing that discoyery in the above-capti.oned actionlis iikely to Jnvolve the
                                          -                                       -          -


       disclosure of confidential inform~tion, it is hereby ORDERED as fc*1!ows:

       1.      Any party to this litigatioll and any third-party shall have th~ right to de~ignate as
       "Confidential" and subject to this Order any information, documentj or thing, of portion of a~y
       document or thing: (a) that contains trade secrets, competitively seilf>itive technical, mark~irt,
       financial, sales or other confidential business information, or (b) th. contains pnvate or      !
       confidential personal information, or (c) that contains information ~ceived in ~nfidence from
                                                                                            to
       third parties, or (d) which the producing party otherwise believes in; good faith be entitled io
       protection under Rule 26(c)(1 )(d) of the Federal Rules:of Civil Pro~edure and Local Civil Rule
       5.3. Any party to this litigation or any third party covered by this Ofder, who ptoduces or • i
       discloses any Confidential material, including without limitation an~ informat~n, documant~
       thing, interrogatory answer, admission, pleading, or te~imony, shall mark the sPnie with the i
       foregoing or similar legend: "CONFIDENTIAL" or "CONFIDENTJAL -- SU$ECT TO
       DISCOVERY CONFIDENTIALITY ORDER" (hereinafter "Confi4ential").
                                                                              ;

       2.     Any party to this Jitigatioh and any third-party shall have th~ right to deSignate as ; 1
       "Attorneys' Eyes Only" and subj,ct to this Order any information, c.locument, ot thing, or ;ortion
       of any document or thing that contains highly sensitive, business or personal inl>rmation, fue!
                                                                                           ot
       disclosure of which is highly likely to cause significant harm to an '1.dividual to the business
       or competitive position of the de$ignating party. Any party to this l*igation or ~y third partj
       who is covered by this Order, wtio produces or discloses any Attortjeys' Eyes Qnly materi~l,      l
       including without limitation any Information, document, thing, intefI"ogatory arlswer, admission,


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     pleading, or testimony, shall mar~ the same with the foregoing or sitnilar legeruf:
     "ATTORNEYS' EYES ONLY" or "ATTORNEYS' EYES ONLY _J SUBJECTfTO
     DISCOVERY CONFIDENTIALJTY ORDER" (hereinafter "Attor~ys' Eyes qily").

I    3.
                                                                              '                i
             All Confidential material shall be used by the receiving partt solely for purposes oftlie
     prosecution or defense of this action, shall not be used by the recei~ng party for any busiries~,
                                                                                                                  i




     commercial, competitive, personal or other purpose, and shall not b~ disclosed ~y the receiving
     party to anyone other than those •et forth in Paragraph 4, unless an~ until the r~trictions herein
     are removed either by written ag~ement of counsel for the parties, <!>r by Order bf the Court. Jt is,
     however, understood that counsel for a party may give advice and opinions to h,is or her client
     solely relating to the above-capti<med action based on his or her ev~uation of Qonfidential 1
     material, provided that such advite and opinions shall not reveal the content of such Confidential
     material except by prior written agreement of counsel for the partie~, or by Ordtr of the Comt.

     4.      Confidential material andtthe contents of Confidential material may be 4isclosed onl)-1 tQ
     the following individuals under the following conditions:                      ,           ,
                                                                              i                .              .
                (a)   Outside counsel (herein defined as any attorney at the parties' o1*;side law tlmJs)
                      and relevant in-house counsel for the parties;       ·            ;             '

                (b)   Outside experts 011 consultants retained by outside c~msel for ptjrposes of tliis
                      action, provided tltey have signed a non.;disclosure agreement in!the form atta~hed
                      hereto as Exhibit A;                                  ·          '

                (c)   Secretarial, paralegal, clerical, duplicating and data W-ocessing wrsonnel of the
                      foregoing;                                             l

                (d)   The Court and co~rt personnel;

                (e)   Any deponent mat be shown or examined on any information, document or tliing
                      designated Confidential if it appears that the witnessrauthored orl received ai ccfpy
                      of it, was involved in the subject matter described therein or is etnployed by t~e
                      party who produc'd the information, doeument or thing, or if th@ producing p~y
                      consents to such clisclosure;                         '            '          ' ·
                                                                                           '.                 ;
                                                                              :            i          ~   .   ~
                (t)   Vendors retained t>y or for the parties to assist in preparing for pretrial disc(>v.ry,
                      trial and/or hearings including, but not limited to, coUrt reporte~, litigation '.
                      support personnel~jury consultants, individuals to prepare demohstrative attd ·
                      audiovisual aids for use in the courtroom or in depositions or mJck jury se~siqns,
                      as well as their staff, stenographic, and clerical emplpyees whos~ duties and
                      responsibilities retuire access to such materials; and·             ·
                                         .                                                 '




               (g)    The parties. In th~ case of parties that are corporatiots or other 1'Jsiness entitits;
                      "party" shall meaq executives who are required to p*1icipate in ~ecisions with
                      reference to this l~wsuit.                                      '

     5.     Confidential material shall be used only by individuals penilitted accesJto it under
     Paragraph 4. Confidential material, copies thereof, and the information contained therein, $htill


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                                                                                     ,           :          i
         not be disclosed in any manner td any other individual, until and un~ss (a) out~de counsel fct
         the party asserting confidentiality, waives the claim of confidentiality, or (b) thejCourt orders ,
         such disclosure.                                                       i
                                                                                                1       .   .

         6.       With respect to any depo$tions that involve a disclosure of ¢onfidential material of ai
         party to this action, such party shall have until thirty (30) days after teceipt of tfie deposition I
         transcript within which to infoi'm'all other parties that pbrtions of the transcript~e to be . :
         designated Confidential, which p~riod may be extended by agreement of the patties. No such;
         deposition transcript shall be disalosed to any individual other than the individtills described ln
         Paragraph 4(a), (b), (c), (d) and (f) above and the deponent during tltese thirty ($0) days, aii.d ho
         individual attending such a depo~ition shall disclose the contents of!the depositf;ln to any
         individual other than those described in Paragraph 4(a), (b), (c), (d) find (f) above during sa.idj
                                                                                            tp
         thirty (30) days. Upon being informed that certain portions of a dep(>sition are be desigriat<fd
         as Confidential, all parties shall itnmediately cause each copy ofthdtranscript if\ its custo<ty ~r.
         control to be appropriately marked and limit disclosure of that transcript in accc)rdance with i
         Paragraphs 3 and 4.                                                      ·                                '  .
         7.      Material produced and m•rked as Attorneys' Eyes Only maY, be disclosd,ci only to ouf$de
         counsel for the receiving party atjd to such other persons as counselJfor the producing party '.
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         agrees in advance or as Ordered lby the Court.                                    ,           ·
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                                             .                                  i            t          '   i
         8.     If counsel for a party receiving documents or information de,signated as!Confidential (Ir
         Attorneys' Eyes Only hereunder objects to such designation of any @r all of such items, the        l
         following procedure shall apply:·                                  ;           .
                                                                                             '
                  (a)    Counsel for the objecting party shall ser\'e on the designating patty or thirdjpaj"ty
                         a written objectioit to such designation, which shall describe witb particulari~ the
                         documents or infotmation in question and shall statehhe ground~ for objection.
                         Counsel for the designating party or third party shalljrespond in ~iting to such
                         objection within 14 days, and shall state with particularity the gil>unds for     ,
                         asserting that the tf.ocurnent or information is Confidtntial or A~rneys' Ey~s i
                         Only. If no timely/written response is m•de to the oijection, thefchallenged i
                                                                                           <t
                         designation will b~ deemed to be void. If the design.ing party nonpartytn:fkes
                         a timely response to such objection asserting the pro~riety ofthti designati~, 1
                         counsel shall thernconfer in good faith in an effort totresolve theidispute. · ,
                                                                                             I

                  (b)     If a dispute as to a Confidential or Attorneys' Eyes <Pnly design..tion of a
                         document or item ~f information cannot be resolved J:>y agreemeht, the propotjent
                         of the designationfbeing challenged shall present theldispute to tfte Court irtiti.lly
                         by telephone or letter, in accordance with Local Civil Rule 37.14a)(l ), before '
                         filing a formal mdtion for an order regarding the chahenged desl'gnation. The
                         document or infortnation that is the subject of the filtng shall be ~reated as ·
                         originally design~ed pending resolution of the disp1*e.
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         9.       All requests to seal documents filed with the Court shall corttply with Lbcal Civil Ruk:
         5.3.


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                                      ;                                    i           j             i
  10.       If the need arises during ttial or at any Hearing before the C~urt for any party to discl+se
  Confidential or Attorneys' Eyes <)nly information, it may do so onl}f after givink notice to th~
                                      '                       ,               i           '           .
  producing party and as directed by the Court.                       ;            ;              '
                                                                              !           '           s

  11.    To the extent consistent with applicable law, the inadvertent;or unintentional disclosure
  of Confidential material that should have been designated as such, ~gardless of whether tlie ·
  information, document or thing was so designated at the time of dis~losure, shafl not be deenied
  a waiver in whole or in part of a f)arty's claim of confidtntiality, eitlier as to the)specific f
  information, document or thing djsclosed or as to any other material or informafion concemil).g;
  the same or related subject mattet. Such inadvertent or unintentional di.Sclosurelmay be reqtifled
  by notifying in writing counsel for all parties to whom the material i.vas disclosed that the · t
  material should have been designated Confidential within a reasonable time afttr disclosm;e. l
  Such notice shall constitute a designation of the information, document or thing as Confidential
  under this Discovery Confidentiality Order.                                                     .

 12.     When the inadvertent or mistaken disclosure of any information, document or thing
 protected by privilege or work-p~oduct immunity is discovered by tfie producirt party anq I
 brought to the attention of the receiving party, the receiving party's treatment of such matdriaJ
 shall be in accordance with Federal Rule of Civil Procedure 26(b )(~)(B). Such Inadvertent ort
 mistaken disclosure of such infoiiroation, document or thing shall not by itself ~nstitute aw~iver
 by the producing party of any cl~ms of privilege or work-product iimnunity. However, nothing
 herein restricts the right of the r~eiving party to challenge the prodµcing party~ claim of
 privilege if appropriate within a reasonable time after receiving nottce of the i1*dvertent or
 mistaken disclosure.

 13.     No information that is inlthe public domain or which is already knownJJy the recaivfig
 party through proper means or which is or becomes available to a ~rty from a ~ource otMr            than
 the party asserting confidentiality, rightfully in possession of such ipformation t>n a non-
 confidential basis, shall be deem~d or considered to be Confidentia\ material ~der this
 Discovery Confidentiality Order~                                       ·

 14.    This Discovery Confidenhality Order shall not deprive any party of its fight to objec~to
 discovery by any other party or on any otherwise permitted groundJ This Discd,very            '
 Confidentiality Order is being edtered without prejudice to the right of any parb' to move th~
 Court for modification or for relief from any of its terms.         '           t          · '
 15.     This Discovery Confidentiality Order shall survive the termjnation of tJ?is action afld ~hall
 remain in full force and effect udless modified by an Order of this <tourt or by the written. ·
 stipulation of the parties filed with the Court.                    .            i           ·


 16.     Upon final conclusion oithis litigation, each party or other lndividual s~bject to tqe t~rtns
 hereof shall be under an obligatiC>n to assemble and to return to the priginating ~ource all , ~
 originals and unmarked copies of documents and things containing)Confidenti4,I material and tp
 destroy, should such source so request, all copies of C~nfidential material thatpontain an4Jot
 constitute attorney work produc(as well as excerpts, summaries an41 digests rei'ealing          '
 Confidential material; provided, however, that counsel may retain oomplete copies of all '
                                                                          '           !




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                                                                                                         '.




 transcripts and pleadings including any exhibits attached thereto forlarchival pufposes, suqje~t to
 the provisions of this Discovery Confidentiality Order. To the extenJ; a party requests the return
 of Confidential material from the Court after the final conclusion of: th¢ litigatid,n, including the
 exhaustion of all appeals therefrom and all related proceedings, the party shall .le a motion ,
 seeking such relief.                                                  '             ;           .



 IT IS SO ORDERED.

 Dated:     \~~\\\o

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